469 F.2d 1406
    National Acceptance Company of Americav.Ideal Builders Hardware Company***
    No. 72-2843
    United States Court of Appeals, Fifth Circuit
    Dec. 15, 1972
    
      1
      S.D.Tex.
    
    
      
        *
         Summary Calendar cases; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York, et al., 5 Cir., 1970, 431 F.2d 409
      
      
        **
         Local Rule 21 cases:  see N. L. R. B. v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    